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                          REPORT OF THE COMMITTEE TO STUDY RACE-NEUTRAL ALTERNATIVES

                      The Committee's Charge

               Harvard University's fundamental purpose is the pursuit and dissemination of knowledge. We
               accomplish this purpose through two principal activities: research and education. One of the most
               important ways we disseminate knowledge is through the education of our undergraduates who
               will, in turn, serve our nation and the larger world through their chosen professions and as citizens
               and citizen-leaders.

               For decades, Harvard University has recognized the critical importance of diversity and a diverse
               student body to achieving success in its principal activities. More than twenty years ago, University
               President Neil Rudenstine wrote that such diversity is "the substance from which much human
               learning, understanding, and wisdom derive.- Neil Rudenstine, The President's Report 1993-1995,
               53. To ensure that students will reap the greatest possible benefit from their undergraduate
               experience and will be challenged to reexamine their preconceptions, Harvard College seeks a
               student body that reflects the broadest possible range of backgrounds and experiences. To achieve
               that diversity, and many other institutional and educational goals, Harvard College implements a
               whole-person admissions process that considers all aspects of each application, including, as one
               of many factors, the applicant's self-identified race or ethnicity.

               Our goal is to admit students who are undeniably extraordinary—students who excel in a range of
               different ways; who will take advantage of the opportunities available at Harvard; who will
               contribute through their diversity of experiences, backgrounds, and interests to the quality and
               vitality of life at the College, both inside and outside the classroom; who will enhance Harvard
               long after they graduate; who will engage our faculty; and who will become citizen-leaders in the
               world beyond Cambridge.

               In a series of decisions, the United States Supreme Court has examined the permissibility of
               considering race in admissions to institutions of higher education. In 1978, the Court approved the
               consideration of race in admissions as one factor among many to attain a diverse student body,
               while rejecting the use of racial quotas. Regents of the University of California v. Bakke, 438 U.S.
               265 (1978). In 2003, the Court held that a university may consider an applicant's race, as one
               among many factors, provided that the university makes the "educational judgment" that student
               body diversity, including racial diversity, "is essential to its educational mission." Grutter v.
               Bollinger, 539 U.S. 306 (2003). If a university chooses to consider race in its admissions process,
               it must ensure that its consideration is "flexible enough to consider all pertinent elements of
               diversity in light of the particular qualifications of each applicant," and that "each applicant is
               evaluated as an individual and not in a way that makes an applicant's race or ethnicity the defining
               feature of his or her application." Id. at 334, 337. The Court also made clear that a university need
               not "choose between maintaining a reputation for excellence or fulfilling a commitment to provide
               educational opportunities to members of all racial groups." Id. at 339. Harvard College has long
               maintained an application process that conforms to these requirements, and indeed when the
               Supreme Court initially examined the consideration of race in university admissions in the Bakke
               case, Justice Powell's lead opinion indicated that a flexible, whole-person approach based on
               Harvard's admissions program would be permissible.



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               In 2013, the Court held that educational institutions choosing to consider race in their admissions
               processes must examine whether doing so is actually necessary to achieve their diversity-related
               educational goals—or, alternatively, whether any race-neutral admissions approaches could
               promote the university's diversity-related educational objectives "about as well" as the
               consideration of race "and at tolerable administrative expense." Fisher v. University of Texas at
               Austin, 570 U.S. 297 (2013). The Court also made clear that universities should periodically review
               the necessity of their race-conscious admissions practices.

               In light of those decisions, in 2014, Harvard undertook once again to examine the importance of
               student body diversity and the role that consideration of race plays in the undergraduate admissions
               process. That reexamination follows President Rudenstine's exploration of those issues in his 1996
               report and the University's ongoing efforts to attain a diverse student body through many ways,
               not just consideration of race, including extensive recruiting efforts and a robust financial aid
               program.

               In 2014, Harvard convened a University-wide committee chaired by James Ryan, Dean of the
               Graduate School of Education. That committee was charged with examining the importance of
               student-body diversity at the University and with evaluating whether the University could achieve
               the educational benefits of a diverse student body without considering the race or ethnicity of its
               applicants. That committee paused its work when Students for Fair Admissions, Inc. ("SFFA")
               filed a lawsuit against Harvard challenging Harvard College's consideration of race in
               undergraduate admissions. Recognizing that the litigation would include an extensive discovery
               process in which experts would conduct in-depth empirical analyses of the College's admissions
               processes and proposed changes to it, Harvard decided to evaluate whether it could achieve the
               educational benefits of diversity without considering race in admissions in the College in a way
               that would be informed by the race-neutral alternatives proposed in the SFFA complaint and the
               analysis of those and other alternatives anticipated to be prepared by the parties' expert witnesses.

               That process has proceeded in two steps. First, a new committee, the Committee to Study the
               Importance of Student Body Diversity, chaired by Rakesh Khurana, Danoff Dean of Harvard
               College, considered again the importance of a diverse student body to Harvard College's
               educational goals. Second, this committee was convened to undertake, with assistance from
               Harvard University's Office of the General Counsel, the second step in the analysis required by
               Grutter and Fisher: whether Harvard College's pursuit of its diversity-related educational
               objectives still requires it to consider the race and ethnicity of undergraduate applicants (among
               many other factors), or whether Harvard could accomplish those objectives without taking race
               into account.

               With regard to the first step, based on a report generated by the Committee to Study the Importance
               of Student Body Diversity, the Faculty of Arts and Sciences unanimously reaffirmed in February
               2016 that "the University's long-held view that student body diversity—including racial
               diversity—is essential to our pedagogical objectives and institutional mission," and that such
               diversity is "fundamental to the effective education of the men and women of Harvard College."
               Nevertheless, as that committee recognized, some of the educational benefits that flow from a
               diverse student body remain elusive at Harvard, and substantial work remains to be done. In 2014,
               for example, the "I, Too, Am Harvard" play cast light on the reality that far too many black students
               at Harvard experience feelings of isolation and marginalization. In 2015, the College Working


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               Group on Diversity and Inclusion set forth a series of recommendations to achieve "a more diverse
               and inclusive future for Harvard." In 2016, Dean Khurana's committee reported student survey
               data showing that only half of Harvard undergraduates believe that the housing system fosters
               exchanges between students of different backgrounds. In March 2018, the Presidential Task Force
               on Inclusion and Belonging proposed organizational recommendations to achieve a more inclusive
               community. Issues of diversity and inclusion thus continue to challenge our community,
               notwithstanding Harvard's decades-long commitment to student body diversity and success in
               attracting exceptional students from broadly diverse backgrounds. As a result, President Faust has
               already started work to implement many of the task force's recommendations.

               In light of that work and those continuing challenges, this committee was convened to examine
               whether Harvard could achieve its diversity-related educational objectives through the application
               of race-neutral alternatives. Formed in June 2017, this committee's members are committee chair
               Michael D. Smith, Edgerley Family Dean of the Faculty of Arts and Sciences, Rakesh Khurana,
               the Danoff Dean of Harvard College, and William Fitzsimmons, Dean of Admissions and
               Financial Aid. Those three members were chosen because of their responsibilities and experience
               with issues relating to student body diversity and its role in college education. Dean Smith has
               responsibility for supervising the Faculty of Arts and Sciences, which includes Harvard College
               and the Graduate School of Arts and Sciences. Dean Khurana has direct responsibility for Harvard
               College and has deep experience with the role of diversity in education and student life at the
               College. Dean Fitzsimmons, with more than forty years of experience in admissions at Harvard,
               has unparalleled knowledge about admissions practices at Harvard and in higher education
               generally.

               This committee held seven meetings between August 2017 and April 2018. Three considerations
               guided our discussions when evaluating alternative admissions practices: (1) the impact
               alternatives would have on the overall diversity of backgrounds, experiences, and interests of the
               entire group of students who share a common educational experience; (2) whether alternatives
               would be consistent with other institutional commitments and goals; and (3) whether alternatives
               could reasonably be implemented given their resource and administrative requirements. To inform
               our work, the committee reviewed social-science and other literature on race-neutral means of
               pursuing diversity and collected information from several offices of Harvard College including the
               Office of Admissions and Financial Aid. As anticipated by the decision to pause the work of the
               committee led by Dean Ryan, this committee also benefited significantly from access to and
               consideration of the materials produced in the ongoing litigation between SFFA and Harvard,
               including the complaint and certain of the expert reports filed in the SFFA litigation. Specifically,
               the committee reviewed the reports submitted by SFFA's expert Richard Kahlenberg, which claim
               that Harvard could achieve its diversity-related educational objectives without considering race,
               and reports submitted by Harvard's expert Professor David Card, which illuminate the tradeoffs
               associated with eliminating the consideration of race and adopting various race-neutral
               alternatives. Together those reports detail the effects that abandoning consideration of race and
               certain other practices in admissions would have on the academic, demographic, and other
               characteristics of the Harvard College student body. They also detail the effects on these
               characteristics of then adopting one or more race-neutral alternatives.

               The expert reports from the SFFA litigation inform, but do not nearly complete, our analysis; it
               falls to this committee to assess whether any race-neutral means, singly or in combination, would


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               or would not enable Harvard to achieve its diversity-related educational objectives. This report
               addresses that question against the backdrop of the statement of diversity-related educational
               objectives adopted by the Faculty of Arts and Sciences in 2016, with which the committee
               wholeheartedly agrees. This report summarizes the conclusions the committee reached following
               careful deliberation.

               IL      Harvard's Existing Efforts To Increase Diversity

               As set forth in the Report of the Committee to Study the Importance of Student Body Diversity,
               Harvard has for decades sought to assemble a student body that is diverse across many dimensions,
               including race and ethnicity, because it believes that a diverse student body is essential to the
               education it provides. One way Harvard seeks to achieve the benefits of diversity (and many other
               educational objectives) is through a whole-person admissions process that takes into account,
               among many other factors, the self-identified race or ethnicity of each applicant. Harvard's
               admissions process gives thoughtful consideration of each applicant as a whole person—taking
               into account all of the information each applicant provides.

               But Harvard's pursuit of diversity neither begins nor ends with any one factor, including the
               consideration of race. Rather, Harvard seeks—and has long sought—to increase the diversity of
               its student body in many ways and across many dimensions. As this report now explains, Harvard
               pursues many ways to attain a diverse student body that do not involve consideration of race or
               ethnicity when considering applications for admission to the College.

               For example, the College undertakes extensive efforts to encourage a diverse pool of applicants to
               seek admission to Harvard. Harvard seeks to identify strong applicants from modest economic
               backgrounds and encourages them to apply through, among other things, targeted mailings of
               promotional materials about Harvard and its generous financial aid program. Harvard
               representatives, including admissions officers, undergraduates, and alumni, conduct numerous
               recruitment events throughout the United States, including events targeting students who come
               from secondary schools and geographic areas that do not frequently send students to Harvard.
               Harvard regularly enhances its website and electronic communications, and revises its publications
               to further these efforts.

               In the past five years, Harvard has also undertaken a particularly concerted effort to encourage
               students from the first generation of their family to attend a four-year college to apply and
               matriculate through its First Generation program. That program includes electronic
               communications, promotional materials, and the ability to correspond directly with current first-
               generation students attending Harvard.

               Harvard also encourages applications from a racially diverse pool through its Undergraduate
               Minority Recruitment Program ("UMRP"), which originated in the early 1970s. The UMRP sends
               targeted mailings to many potential applicants of different racial and ethnic backgrounds
               (including African-American, Hispanic, and Asian-American students), coordinates online
               communications, sends staff to schools and events around the nation, and enlists current students
               to talk with prospective applicants.




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               Having made these efforts to encourage a body of students diverse across many dimensions to
               apply for admission, Harvard then seeks in the admissions process itself to identify promising
               students from modest economic backgrounds, first-generation college students, and other students
               who would contribute to the diversity of the student body in many ways. The Admissions Office
               carefully reviews applications from such students to ensure that they arc not disadvantaged in the
               application process because of their lack of resources and opportunities or their educational
               background, and to recognize the particular achievement of students who have excelled when
               coining from a modest background.'

               Once it has admitted a diverse group of students, Harvard encourages them to matriculate. Harvard
               does not award merit or athletic scholarships; its financial aid program is entirely need-based, and
               is designed to ensure that financial circumstances will not prevent any admitted student from
               matriculating. Harvard publicizes its financial aid policies widely, prominently discussing them
               on its website and in promotional materials. Harvard's Net Price Calculator, featured on its
               website, is designed to be simple to use and gives prominence to important details about the
               financial aid program. Harvard also encourages all staff, faculty, students, and alumni involved in
               recruitment to talk about and explain the generous financial aid program to students and families.

               In addition to its generous financial aid program, Harvard makes additional efforts to encourage
               admitted students from diverse backgrounds to matriculate at Harvard. Harvard's Visitas weekend
               for admitted students invites all admitted students to campus and offers them the chance to meet
               their future classmates and professors, learn more about life at Harvard, and explore the campus.
               Harvard provides need-based aid to help all admitted students travel to Visitas. During Visitas,
               Harvard encourages admitted students to meet with current students, including those from similar
               backgrounds, to gain an understanding of the importance that the College places on diversity. For
               example, since 2015, Harvard has hosted an Economic Diversity and First Generation Students
               Reception, which offers admitted students the opportunity to meet enrolled students from the First
               Generation Student Union, the Harvard First Generation Program, and the Harvard Financial Aid
               Initiative. In addition, there is a multicultural reception for students interested in meeting members
               of the Undergraduate Minority Recruitment Program and leaders from a variety of student
               organizations.

               Harvard continually evaluates these practices and considers ways to improve them. Within the past
               decade, this iterative review process has led to significant changes in admissions policies and
               practices designed to enhance diversity.

               For example, Harvard has in the past decade reexamined and experimented with its Early Action
               admissions program in the hope of achieving several goals, including the goal of promoting
               diversity. Some have argued that early admission programs place students from less privileged
               backgrounds at a disadvantage, in part because those students may need more time to prepare for
               the college admissions process. In 2006, Harvard announced that it would eliminate its Early
               Action program in the 2007-08 admissions cycle (i.e., with applicants to the Class of 2012).

               1       Harvard's admissions practices are sometimes referred to as "need-blind" admissions.
               That phrase is meant to signify not that the Admissions Office is unaware of an applicant's
               financial circumstances, but rather that an applicant's inability to pay is not an impediment to
               admission.


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               Harvard hoped that eliminating Early Action would encourage an even greater number of diverse
               students to apply and matriculate. After a number of admissions cycles without Early Action,
               Harvard evaluated the effects of this change, and determined that eliminating Early Action did not
               create a more diverse application pool and in fact reduced Harvard's ability to attract a broadly
               diverse and academically excellent class. In 2011, Harvard therefore reinstated a non-binding
               Early Action program.

               As another example, Harvard has repeatedly expanded the resources it dedicates to the students in
               its financial aid program over the past decade and a half. In 2004, Harvard announced the Harvard
               Financial Aid Initiative ("HFAI"), offering students from families with annual incomes below
               $40,000 (and typical assets) the opportunity to attend Harvard at no cost to their families, while
               expecting a significantly reduced parental contribution for students with family incomes between
               $40,000 and $60,000. (Harvard does not consider the family's home equity in calculating family
               resources.) Two years later, Harvard expanded the HFAI so that no parental contribution was
               expected from students whose families earned up to $60,000, and a limited contribution was
               expected from students whose families earned up to $80,000. In 2008, Harvard again made
               Harvard College more affordable by vastly expanding the range of students who could attend
               Harvard without paying the full cost of tuition. Since 2012, Harvard has expected zero parental
               contribution from families with earnings less than $65,000, and a contribution of not more than
               10% of family income for students whose families earn between $65,000 and $150,000. Even
               families earning up to $180,000 or more are not expected to pay the full cost of tuition, if they are
               faced with unusual expenses. These generous policies are designed to ensure that students from all
               socioeconomic strata can attend Harvard, promoting both economic and racial diversity.

               In sum, to achieve its diversity-related educational objectives, Harvard devotes considerable
               resources to recruiting, admitting, and enrolling candidates who are diverse across many
               dimensions, in addition to taking applicants' race into account as one among many factors in the
               admissions process. The College has engaged in all of those efforts because it has concluded that
               each of them is helpful in contributing to the broad diversity that the College is seeking. The
               committee now considers whether, despite already engaging in all of the efforts described above,
               there remain race-neutral measures, including those identified in the challenge to Harvard's
               admissions practice posed in the SFFA litigation, that could be effective in at attaining diversity
               without undermining Harvard's other foremost educational and institutional objectives.

               III.       Race-Neutral Alternatives Considered

               The committee understands that the Supreme Court has indicated that universities need not
               "exhaust[] every conceivable race-neutral alternative" before considering race in admissions to
               promote diversity; their obligation is to analyze whether any workable race-neutral admissions
               practices could achieve their diversity-related educational objectives about as well as the
               consideration of race, and at tolerable administrative expense. By reviewing literature, as well as
               the expert reports filed in the SFFA litigation, the committee identified the following list of
               practices to consider:

                      •   Increasing efforts to recruit racially and socioeconomically diverse students
                      •   Establishing partnerships with schools or organizations that serve applicants of modest
                          socioeconomic backgrounds


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                     •   Increasing financial aid
                     •   Adopting place-based preferences, such as admitting the top student or students from each
                         high school or ZIP code
                     •   Increasing transfer admissions
                     •   Affording greater weight to the fact that an applicant comes from a socioeconomically
                         disadvantaged background
                     •   Eliminating Early Action
                     •   Ending the practice of offering some candidates deferred admission to a subsequent class
                     •   Eliminating the consideration of whether an applicant's parent attended Harvard or
                         Radcliffe
                     •   Eliminating the consideration of whether an applicant's parent is a member of Harvard's
                         faculty or staff
                     •   Eliminating the consideration of whether an applicant is a recruited athlete
                     •   Eliminating any consideration of whether an applicant's family has donated or has the
                         capacity to donate to Harvard
                     •   Eliminating the consideration of applicants' standardized test scores

               IV.       Evaluation Of Race-Neutral Alternatives

               In the committee's judgment, none of these alternative admissions practices—either alone or in
               combination—would enable Harvard to achieve its diversity-related educational objectives
               without significant and unacceptable sacrifice to other institutional imperatives. As explained
               below, some of the proposed alternatives would simply be not practicable for Harvard, regardless
               of their potential effect on diversity. Others would be ineffective at attaining a student body that
               would provide students with the educational and other benefits of diversity. Still others, though
               perhaps more likely to generate a racially diverse student body, would impose too high a cost on
               Harvard's other important educational and institutional objectives—a cost the committee
               understands the Supreme Court to have made clear in Grutter and Fisher 11 that universities are
               not required to pay.

               The committee recognizes that the Supreme Court's decisions in Grutter and Fisher challenge
               universities to be certain that, if they consider race in college admissions, they do so in the
               narrowest way. Based on the committee's review of the materials generated in the SFFA litigation,
               other literature, and its own experience with the Harvard admissions process, the committee is
               convinced that Harvard does so. Harvard's admissions process treats every applicant as an
               individual and explores every application in depth to ascertain how the applicant and Harvard
               would benefit from each other. Consideration of an applicant's race is part but only a part of
               that process, and the Admissions Office's whole-person review ensures that consideration does
               not overwhelm other factors that bear on the College's admissions process, including the
               imperative that the College remain an academically outstanding institution. By contrast, the
               proposals discussed below are unworkable, either because they are not practicable, they are not
               effective, or they would impose too great a cost to our institutional objectives. Some of them would
               also be unduly mechanistic at the expense of Harvard's whole-person admissions process.




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                       A.      What Would Happen If Harvard Stopped Considering Race?

               The committee considered as an initial matter the likely effect on Harvard's student body if it were
               to stop considering race in its admissions process, while continuing to engage in the other practices
               in pursuit of diversity described above. As the expert report submitted by one of Harvard's experts
               in the SFFA litigation, Professor David Card, explains, the number of African-American and
               Hispanic students on campus would decline dramatically, notwithstanding all the other efforts that
               Harvard takes to recruit a broadly diverse class. Specifically, Professor Card estimates that the
               elimination of race in its race-conscious admissions program would reduce the population of
               students who self-identify as African-American, Hispanic, or "Other" racial or ethnic background
               by nearly 50%.2 Relative to the admitted Class of 2019, for example, the proportion of African-
               American students would be expected to drop from 14% to 6%, and the proportion of Hispanic or
               Other students would be expected to drop from 14% to 9%.

               This decrease would produce a corresponding increase in students of other races, primarily White
               students. Overall, the non-White percentage of the student body would decline substantially absent
               the consideration of race.

               The committee believes that the significant decline in racial diversity that would flow from
               eliminating the consideration of race in the admissions process would prevent Harvard from
               achieving its diversity-related educational objectives. In particular, we are concerned that students
               in a significantly less diverse class will have diminished opportunities to engage with and learn
               from classmates who come from widely different backgrounds and circumstances, both in the
               classroom and in all other dimensions of campus life. This, in turn, would leave students ill-
               prepared to contribute to and lead in our diverse and interconnected nation and world. The issues
               of diversity and inclusion that Harvard faces today—including what the committee understands to
               be ongoing feelings of isolation and alienation among racial minorities in Harvard's community—
               would only be exacerbated by a significant decline in African-American and Hispanic enrollment.

               This is not to say that Harvard has in mind a specific number of students of any given racial or
               ethnic background who must be on campus in order for Harvard's diversity-related educational
               objectives to be satisfied. It does not. But the committee is convinced that a significant reduction
               in the number of African-American and Hispanic students on campus would inhibit the ability of
               Harvard's students and faculty to glean the benefits of a diverse student body and significantly
               undermine our educational mission and broader institutional objectives.

                       B.      Individualized And Aggregate Analysis Of Race-Neutral Alternative
                               Practices

               We next discuss our assessments of whether, if Harvard were to eliminate consideration of race in
               the admissions process and suffer the resulting decline in racial diversity, any of the race-neutral
               practices set forth above could (either alone or in combination) enable Harvard to recover a degree
               of racial diversity sufficient to achieve its diversity-related educational objectives, while still being

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                      In Professor Card's report, the "Other" racial or ethnic background includes applicants
               who self-identified as Native American, Hawaiian, or Pacific Islander in their applications to
               Harvard.


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               practicable for Harvard and without compromising its other important educational or institutional
               objectives.

               For convenience, we group these proposals into two kinds of practices. First, we consider a series
               of practices that Harvard could undertake that, without involving a direct consideration of race,
               might nonetheless increase the racial diversity of either the applicant pool or the student body at
               Harvard (or both). Second, we consider the possibility that Harvard might abandon certain of its
               existing admissions practices that have been criticized for negative effects on student body
               diversity.

               Ultimately, we conclude that none of these proposals, singly or in combination, are practicable for
               Harvard or would allow Harvard to achieve the educational benefits of a diverse student body
               without unacceptable cost to other important educational and institutional objectives.

                              1.      Proposals to Increase the Diversity of the Applicant Pool or Student
                                      Body
                  •       Increasing efforts to recruit racially and socioeconomically diverse students to apply

               Harvard already undertakes extensive efforts to recruit students who would contribute to the
               diversity of its class, both at the application stage and at the matriculation stage. As noted above,
               Harvard students and admissions personnel visit hundreds of locations across the United States,
               devote extensive resources to the recruitment of minority students served by the UMRP, recruit
               students from the first generation of their families to attend college, and engage in extensive social
               media campaigns designed to expand the admissions pool. This outreach effort—which equals or
               exceeds the efforts of Harvard's peer institutions. And includes the assistance of more than 10,000
               alumni located throughout the nation and the world—requires an extensive commitment of human
               and financial resources. Harvard also purchases lists from the College Board and ACT that allow
               it to send multiple letters and electronic communications to more than 100,000 high school
               students across the country who, based on reported high school grades and standardized test scores,
               show promise as having the academic ability and interest to succeed at Harvard.

               Harvard constantly seeks to improve its recruitment efforts, and the Dean of Admissions meets at
               least twice a year with the Dean of the Faculty of Arts and Sciences and often discusses how that
               process might be improved. But Harvard does not seek a large applicant pool as an end in itself;
               Harvard's recruitment process must be directed at students who show promise of succeeding at the
               College. Recruiting students who are not likely to be accepted would have little effect other than
               to increase the number of disappointed applicants and discourage promising younger students at
               their schools from applying to Harvard in the future.

               Moreover, as we discuss later in this report, Professor Card's simulations of the effects of various
               race-neutral alternatives show that, even if increased recruitment could double the number of
               socioeconomically disadvantaged students who apply to Harvard—an assumption we regard as
               extremely unrealistic—a race-neutral admissions process still could not achieve a student body
               comparable in diversity to current classes without unacceptably compromising other important
               institutional objectives. If Harvard were to place so much weight on socioeconomic background
               as to achieve levels of racial diversity commensurate with those at the College today, the collateral



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               effect would be that the proportion of matriculants who are most exceptional—with the highest
               academic, extracurricular, personal, and athletic ratings—would decline precipitously.

                  •       Expanding partnerships with schools or organizations that serve applicants of modest
                          socioeconomic backgrounds

               Harvard already engages in significant outreach efforts with community-based organizations
               across the country. Harvard does not restrict its efforts to a small number of organizations by giving
               them a "pipeline" to the College; instead, Harvard has developed and maintains a broad base of
               relationships with community-based organizations that strive to advance underserved students
               across the country. Harvard admissions officers are in touch with community-based organizations
               in their designated areas and foster relationships with those organizations to ensure that their top
               students apply to Harvard. Harvard also invites community-based organizations to participate at
               its annual summit on undergraduate admissions (the Harvard Summer Institute on College
               Admissions), and numerous community-based organizations attend the program.

               Although Harvard is always considering ways to increase its efforts in this area, the committee has
               concluded that the current efforts are so substantial that we do not believe that seeking out
               additional partnerships of this nature, or deepening current partnerships, could yield more than an
               incrementally small number of applicants who would be admitted to Harvard and would not
               otherwise have applied. Furthermore, favoring specific pipeline programs would not be consistent
               with our goal of attracting the most diverse set of applicants independent of their ability to access
               a particular pipeline program. In summary, the committee does not believe that an increased effort
               to target so-called "pipeline" organizations would meaningfully contribute to the diversity of the
               applicant pool or the enrolled student body, and favoring specific pipeline programs would be
               inconsistent with our institutional goals.

                  •       Increasing financial aid

               Harvard currently offers among the most generous financial aid of any higher education institution
               in America. Attending the College is free to students whose families earn below $65,000. Families
               earning up to $150,000 which, according to the most recent census data, represents 87% of
               American households—pay no more than 10% of their income each year. These financial aid
               policies aim to ensure that no student will be unable to attend Harvard because of financial
               considerations. Harvard commits nearly $200 million to support financial aid each year.

               There is no reason to believe, however, that further increases in financial aid will materially
               increase the diversity of Harvard's student body. The committee has seen nothing to suggest that
               members of any racial or ethnic group are choosing to attend other schools instead of Harvard on
               the basis of the need-based financial aid available at those institutions. Harvard's current financial
               aid program is already so generous that it makes Harvard more affordable, especially to low-
               income applicants, than many public institutions. According to calculations from the Office of
               Admissions and Financial Aid, 90% of families would pay the same or less to send their children
               to Harvard as they would to a state school. As Professor Card notes, approximately 70% of
               African-American households and more than 60% of Hispanic households arc already eligible for
               zero parental contribution under Harvard's current financial aid program.



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               These data indicate that Harvard's financial aid program is already capable of reaching most
               potential African-American and Hispanic applicants. In fact, Professor Card's analysis shows that
               the most recent expansions of financial aid, in 2012 and 2016, did not result in significant increases
               in the number of African-American or Hispanic applicants or admitted students. Although Harvard
               is always interested in additional ways to make attendance at the College affordable, increasing
               financial aid is not likely at this time to make the student body more racially diverse.

               Moreover, even Harvard has limits to the amount of financial aid it can offer. The committee
               believes it is simplistic to assume, as many do, that based on the size of Harvard's endowment,
               Harvard can afford to spend any amount of money on financial aid that it would like. The reality
               is much more complicated. In fact, the endowment covers only 65% of the 5200 million required
               to fund undergraduate financial aid. Harvard could not significantly increase its financial aid
               budget without detracting from other commitments—to a four-year residential experience, cutting-
               edge research facilities, faculty and staff, and operations—that are essential to maintaining
               Harvard as one of the world's leading institutions of higher learning.

                  •       Adopting place-based preferences

               In the committee's judgment, Harvard could not—and should not—select its class by admitting
               even the single top student from each high school or ZIP code. The concept is fundamentally
               incompatible with the core mission of the Harvard admissions process, which is to recruit, admit,
               and enroll the most extraordinary students in the world, wherever they may be found. Although
               Harvard does value geographical diversity and has long sought to recruit and admit students from
               across the country (and more recently around the world), it should not be compelled to deny
               admission to the second or third excellent applicant from one location simply because a formula
               points to an applicant in another place. Resorting to such a mechanical place-based system is
               contrary to the nuanced and individualized review that Harvard has always employed.

               Limiting Harvard's ability to admit multiple applicants from a single high school or ZIP Code, in
               favor of admitting the single "best" student from a large number of high schools or ZIP Codes,
               would force Harvard to pass up globally excellent students who in its judgment would bring more
               to campus than the sum of the locally best students. This would not merely be true of an admissions
               protocol that required Harvard to admit, at most, not more than one student per ZIP Code; it would
               equally be true of the suggestion in Mr. Kahlenb erg's report in the SFFA litigation that Harvard
               should endeavor to admit roughly the same number of top students from each of the College
               Board's "Educational Neighborhood Clusters." Excellence in all of the dimensions Harvard seeks
               is not equally distributed in that manner. In this committee's opinion, the adoption of an admissions
               regime using rigid place-based preferences would greatly lessen Harvard's undergraduate student
               body of qualities that Harvard has long thought important. It would replace a global search for
               excellence with a mechanical system of admission by numbers, the costs of which would vastly
               exceed the benefits.

               The proposal is also beset by practical difficulties. There are more than 36,000 high schools and
               43,000 ZIP Codes in the United States. Harvard does not have room to admit even one student
               from every one of those schools or ZIP Codes. In addition, identifying the "top student" in a high
               school class or ZIP code is problematic. One approach to that task would be an algorithmic
               assessment of students' quantitative academic credentials such as high school grades and test


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               scores. But Harvard has long believed that metrics like grades and test scores, although informative
               and important, are of limited value in identifying students who would contribute many and varied
               forms of excellence to Harvard's campus community. Even if Harvard were to apply its whole-
               person admissions process to applicants within each high school or ZIP code, it would still be
               impossible to identify the single "top" applicant, because there is no single dimension on which
               Harvard ranks its applicants. Some applicants may bring exceptional academic promise to campus;
               others, while academically excellent, may shine even more brightly in other pursuits. None of these
               types of students is necessarily the single "best."

               Indeed, the analysis prepared by Professor Card in connection with the SFFA litigation shows that
               the subset of applicants who are the "top students" in their high school are weaker than Harvard's
               admitted class. Specifically, relative to the pool of admitted students, the "top students" have lower
               SAT and ACT scores as well as lower academic index ratings and academic, extracurricular,
               personal, and athletic ratings. The committee believes that adopting a place-based admissions
               regime would therefore diminish, to an unacceptable degree, the excellences that are a hallmark of
               our student body.

                  •       Increasing transfer admissions

               Because Harvard believes that a residential system is fundamental to the undergraduate experience,
               as reflected by the fact that 98% of undergraduates live on campus, Harvard's admissions process
               is necessarily confined by the number of beds on campus. Very few students take leaves of absence
               or otherwise leave Harvard every year, and thus Harvard has usually been able to admit only an
               extremely small number of excellent upperclassmen each year as transfer students—and
               sometimes, none at all. In recent years, for example, Harvard was able to admit just twelve transfer
               students from among more than 1,400 applicants. Nor does Harvard admit transfer students who
               have completed more than two years of study at another institution: the degree would be
               diminished if it could be earned without taking at least half of one's classes at the College.

               In theory, Harvard could create more room for transfer students by admitting a smaller freshman
               class, essentially reserving spots for transfer students to join the school after their freshman year
               at other institutions. Harvard could also theoretically expand the size of its sophomore, junior, or
               senior classes by building additional housing. At this time, the committee does not consider either
               approach to be workable.

               There is no good reason to admit fewer freshmen for the purpose of reserving spots for future
               transfer students. Harvard already rejects thousands of incredibly talented students who could
               thrive at the College, including many racially diverse applicants. Rejecting even more applicants
               for freshman admission to reserve additional spots for transfer admissions would only make sense
               if the pool of transfer students was somehow stronger than the pool of students who apply to
               Harvard for freshman admission. There is no reason to think this is true; in fact, as discussed below,
               Professor Card reports that the transfer pool is less diverse and less impressive than the pool of
               freshman applicants.

               With respect to expanding the size of the sophomore, junior, and senior classes to accommodate
               additional transfer students, Harvard's ability to undertake that effort is significantly constrained
               by its physical plant: to do so, Harvard would need to build additional housing. At present, and for


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               the foreseeable future, Harvard is engaged in a House Renewal effort that involves renovating and
               modernizing the existing Houses, some of which are nearly 100 years old. After the House
               Renewal project is complete, as the College considers the possibility of expanding its housing
               stock, it may then be appropriate to evaluate whether additional space can or should be preserved
               for transfer students.

               In the meantime, additional considerations counsel against increasing transfer admissions as a
               race-neutral means of attempting to pursue diversity. In Professor Card's expert report in the SFFA
               litigation, he notes that the pool of transfer applicants is actually less racially diverse that the pool
               of freshman applicants, and transfer applicants have lower academic ratings (on average) than
               freshman applicants. Given Harvard's limited ability to enroll a significant number of transfer
               students, increasing transfer admissions would have an immaterial impact on the racial diversity
               of the student body. Thus, the committee concluded that increasing transfer admissions is unlikely
               to help Harvard achieve its diversity-related educational goals, and would impair its pursuit of
               academic excellence.

                   •       Increased weight for socioeconomic background

               In the expert reports he submitted in the SFFA litigation, Professor Card examined whether
               Harvard could achieve diversity by increasing the weight that it gives to the fact that an applicant
               comes from less privileged socioeconomic circumstances, in addition to eliminating the practices
               discussed above. That analysis was done through a process of statistical modelling, in which he
               conducted extensive simulations of the projected composition of the Harvard freshman class if
               Harvard were to change its admissions practices in those ways. The simulations show that Harvard
               could not both achieve its diversity interests and achieve other equally important educational
               objectives, such as academic excellence.

               Harvard has long given particular consideration to applications from students who come from
               modest socioeconomic backgrounds and circumstances, for many reasons. Harvard understands
               that excellence can be found in all quarters of society, and students who excel or show promise of
               excelling despite limited access to educational and other resources often show the kind of
               determination and resilience that makes them likely to benefit greatly from what Harvard has to
               offer its students—and show that they in turn will have much to offer Harvard. Students from
               modest socioeconomic circumstances may have distinct perspectives to share with their peers in
               and outside the classroom, and a class that is diverse in socioeconomic backgrounds is an essential
               part of the diversity in a student body that Harvard strives to achieve. Although Harvard does not
               assign any particular defined weight to an applicant's socioeconomic circumstances, those
               circumstances are important factors that the admissions process considers. But just as Harvard
               does not elevate racial diversity over all other considerations in the admissions process, so too does
               it not elevate socioeconomic considerations over all others. Harvard looks for excellence above
               all, and believes that excellence can and should be found in all backgrounds. A focus on
               socioeconomic circumstances that outweighed all other factors could equally reduce the depth and
               breadth of the Harvard class as well as its excellence in many dimensions.

               It has been suggested that Harvard could attain a racially diverse student body by giving increased
               consideration to applicants' modest socioeconomic circumstances rather than considering their
               race or ethnicity. Doing so, however, would not be a simple matter of substituting one


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               consideration for another. According to Professor Card's simulations, if Harvard stopped
               considering race and eliminated the practices discussed below, it would need to award a boost to
               applicants from lower socioeconomic backgrounds that is larger than the boost given to candidates
               with the strongest academic, extracurricular, personal, and athletic ratings in order to reach the
               current level of African-American, Hispanic, and Other students admitted to Harvard.

               Such a course would overwhelm other considerations in the admissions process, leading to
               significant changes in the composition of the admitted class, some of which would be incompatible
               with Harvard's educational mission. As Professor Card's report in the SFFA litigation also shows,
               if Harvard were to greatly increase the weight given to socioeconomic circumstances in the manner
               discussed above, it would run a significant risk of diminishing the academic excellence of the class.

               For example, if Harvard afforded weight sufficient to produce a combined proportion of African-
               American, Hispanic, and Other students comparable to that of current classes, the proportion of
               admitted students with the highest academic ratings (as assigned by admissions officers) would be
               expected to drop from 76% to 66%. That is true under each of the simulations that SFFA's expert
               in the litigation, Mr. Kahlenberg, embraces. In fact, the ultimate combination of race-neutral
               alternatives that Mr. Kahlenberg deems workable for Harvard would, if adopted, result in a 19%
               drop in the proportion of admitted students with the highest academic ratings. That is a pronounced
               decline in a dimension of excellence that Harvard considers essential to its educational mission.
               Moreover, in both simulations of race-neutral alternatives that have been submitted in the SFFA
               litigation, where those experts give greater weight to applicants' socioeconomic backgrounds, the
               proportion of students given the highest extracurricular, personal, and athletic ratings by the
               Harvard Admissions Office would also decline substantially. Although some of the proposed race-
               neutral practices reflected in those simulations could therefore achieve a significant degree of
               racial diversity, Harvard does not seek diversity to the exclusion of all its other objectives—nor
               does the committee understand that Harvard is required to do so. Academic excellence across the
               student body remains an institutional imperative.

               Using socioeconomic status as a proxy for race in the admissions process would also, by definition,
               yield a student body in which many of the non-White students would come from modest
               socioeconomic circumstances. Thus, even if socioeconomic status could be used to increase racial
               diversity, it would do so at the cost of other forms of diversity, undermining rather than advancing
               Harvard's diversity-related educational objectives.

               In the committee's view, therefore, there is no way for Harvard to use socioeconomic factors, even
               in combination with the elimination of certain other practices discussed below, to achieve both its
               diversity-related educational objectives and its other educational objectives.

               The committee also evaluated whether admissions officers should be provided with additional
               information relating to each applicant's socioeconomic circumstances. The committee believes
               that this is a proposal to solve a problem that does not exist. There is no reason to believe that
               Harvard currently struggles to identify low-income students during the admissions process, or that
               Harvard would admit more students from challenged socioeconomic circumstances if only the
               Admissions Office had more granular information relating to the applicant's wealth and income.
               Admissions officers already have access to extensive information in each application file,
               including extensive information bearing on applicants' socioeconomic circumstances. To the


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               extent admissions officers believe it would be helpful to know precise information about an
               applicant's socioeconomic background, they can and do ask for and receive that information from
               their colleagues who work in financial aid and are themselves part of the admissions staff

                              2.      Proposals to Eliminate Certain Admissions Practices
                  •       Eliminating Early Action

               Harvard has recently experimented with eliminating Early Action, and that experience provides
               strong evidence that eliminating Early Action would not allow Harvard to achieve its diversity-
               related educational goals. Indeed, Harvard's experience shows that a well designed Early Action
               process contributes to diversity rather than detracts from it, and that eliminating Early Action at
               Harvard ultimately decreases the diversity of the class as a whole.

               Like many of its peer institutions, Harvard has historically offered applicants the opportunity to
               apply in November of their senior year of high school and receive notice of a decision on their
               applications as early as December. Harvard employs a non-binding Early Action program, as
               opposed to a binding Early Decision program that commits applicants to attend if admitted—and
               it does so because Early Decision programs can favor affluent applicants, who need not worry
               about the ability to compare financial aid offers from multiple schools, over less affluent
               applicants.

               In 2006, Harvard announced that it would abolish even the non-binding Early Action program, in
               part as a response to a concern that such a program might favor applicants with the cultural capital
               and resources to prepare strong applications in time to apply early. At the time, Harvard hoped that
               other peer schools would follow its lead, and anticipated that the widespread elimination of Early
               Action across Harvard's peer institutions of higher education would result in increased
               socioeconomic and racial diversity for all.

               That expectation was not achieved, however. Most peer universities did not follow Harvard in
               abolishing early admissions, and over the course of four admissions cycles without Early Action,
               Harvard found that the share of self-identified African-American, Hispanic, and Other applicants
               to Harvard did not rise and that the yield rate for African-American, Hispanic, and Other applicants
               declined. To make matters worse, many of the most promising African-American, Hispanic, and
               Other applicants opted to attend universities that continued to offer them early admission.

               In response to this experience, Harvard reinstituted a single-choice Early Action program
               beginning with the class of 2016. As compared with the period during which Early Action was
               abolished, the yield rate for applicants across all racial groups increased after the return of Early
               Action. In sum, Harvard learned that the elimination of Early Action detracted from its ability to
               enroll highly talented students, including self-identified African-American, Hispanic, and Other
               students, and the return of Early Action enhanced that ability. Based on Harvard's direct
               experience and experimentation with Early Action, the committee does not believe that abolishing
               Early Action again would contribute to diversity on campus, let alone restore to a meaningful
               degree the diversity that would be lost by eliminating consideration of race. The committee further
               believes that the abolition of Early Action would damage Harvard's ability to compete effectively
               for top candidates, hindering its educational goals.



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                  •       Eliminating other practices

               In the expert reports he provided in connection with the SFFA litigation, Professor Card was able
               to simulate the effects of eliminating a group of practices that have been challenged in that
               litigation as potentially favoring White applicants: the practice of deferred admission, the
               consideration of whether an applicant's parents attended Harvard or Radcliffe, the consideration
               of whether an applicant's parent is employed by Harvard, the consideration of whether the
               applicant is a recruited athlete, and the consideration of whether the applicant is on the Dean's or
               Director's interest list.

               As discussed above, Professor Card's simulations show that if Harvard eliminated all of those
               practices, and also eliminated consideration of race in the admissions process, the resulting class
               would have significantly fewer students who identify as African-American, Hispanic, or Other. As
               discussed above, the committee regards a decline in diversity of such significant magnitude as
               inimical to Harvard's diversity-related educational objectives.

               Thus, to the extent elimination of these practices could even marginally increase diversity, it would
               not do so by nearly enough to compensate for the sharp decline in diversity that would result from
               eliminating consideration of race in the admissions process. For example, Professor Card's
               simulations show that eliminating the consideration of race, but keeping these other policies
               constant, would reduce the share of admitted students who are African-American to 5.6% and the
               share who are Hispanic or Other to 8.9%. Eliminating the consideration of race and eliminating
               these processes would have a negligible effect (and not always positive) on diversity, resulting in
               an admitted class that is 5.3% African-American and 93% Hispanic or Other. That is reason
               enough for the committee to conclude that these practices would not prevent Harvard from needing
               to consider race in the admissions process to achieve its diversity-related educational objectives.

               In view of the criticism leveled against certain of these practices, however, the committee also
               considered whether the challenged practices are consistent with Harvard's broader values and
               interests. The committee concludes that the practices do serve important institutional values and
               interests:

                      o Like excellence in other extracurricular pursuits, athletic excellence is one of many
                        attributes that Harvard values in its students. Athletic performance at a high level
                        requires discipline, resilience, and teamwork that benefits students for the rest of their
                        lives and prepares them for active engagement with their peers. Harvard student-
                        athletes are also among the most dedicated alumni and contribute in many ways to the
                        University after they graduate. In addition, Harvard's ability to field athletic teams
                        contributes to the deep connection Harvard students and alumni form with the
                        institution and that foster a sense of community on campus.

                      o The practice of considering, among many other factors, whether an applicant's parent
                        attended Harvard College or Radcliffe College as an undergraduate also helps to
                        cement strong bonds between the university and its alumni. Harvard hopes that its
                        alumni will remain engaged with the College for the rest of their lives, and this
                        consideration is one way that it encourages them to do so. Harvard also relies to an
                        unusual degree on the participation of its alumni in the admissions process. In every


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                          state and almost every country around the world, Harvard graduates volunteer their
                          time to serve as alumni interviewers. Harvard alumni also offer generous financial
                          support to their alma mater. That financial support is essential to Harvard's position as
                          a leading institution of higher learning; indeed, it helps make the financial aid policies
                          possible that help the diversity and excellence of the College's student body. Although
                          alumni support Harvard for many reasons, the committee is concerned that eliminating
                          any consideration of whether an applicant's parent attended Harvard or Radcliffe would
                          diminish this vital sense of engagement and support. In addition, giving consideration
                          to whether an applicant's parent attended the College serves a community-building
                          function, and contributes to a sense among all undergraduates that they are part of a
                          lifelong educational engagement. Finally, the committee notes that children of Harvard
                          alumni tend to be very strong applicants.

                      o The practice of deferred admission allows Harvard to admit excellent students who
                        would benefit from the experiences gained in a gap year. Some of those students also
                        have significant connections to the University, including as a result of their parent's
                        service to the College as an employee or volunteer. Therefore, deferred admission
                        advances the same institutional goals implicated by the practice of considering whether
                        an applicant's parent attended Harvard College or Radcliffe College, described
                        immediately above.

                      o Considering whether an applicant's parent is a member of the University faculty or
                        staff is important to the retention of talent in the University workforce. Eliminating that
                        consideration would place Harvard at a significant competitive disadvantage in
                        recruiting personnel. Applicants from the Harvard community also tend to be strong
                        students, and their presence on campus helps build a sense of community across the
                        generations.

                      o To the extent the Admissions Committee currently considers other aspects of service
                        to Harvard, including whether an applicant's family has donated or has the capacity to
                        donate to Harvard, it does so in a very small number of cases—far too small for the
                        cessation of any such practice to contribute meaningfully to campus diversity (and
                        many of those applicants have other connections to Harvard as well). The committee
                        wishes to emphasize that—although development efforts are both legitimate and indeed
                        essential to any private university, and although they enable Harvard and its students
                        and faculty to make many contributions to the public good—no student is ever admitted
                        to Harvard simply because his or her family is able to make a donation. We further note
                        that Harvard has a practice of not soliciting donations from families who have a child
                        in the applicant pool.

                  •       Eliminating consideration of standardized test scores

               Finally, in his expert report in the SFFA litigation, Professor Card examined how eliminating
               consideration of standardized test scores in addition to eliminating the practices discussed at the
               outset and giving increased weight to socioeconomic circumstances—would alter the
               characteristics of the admitted class.



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               Professor Card's analyses show that this set of practices in combination could produce a
               comparably diverse class only at a significant cost to Harvard's other educational objectives. For
               example, if that increased weight for modest socioeconomic circumstances were sufficient to
               produce a combined proportion of African-American, Hispanic, and Other students comparable to
               that of Harvard's current classes, the proportion of students with the highest academic ratings
               would decline by 17%, and the proportion of students with the highest extracurricular or personal
               ratings would decline by 7%. As discussed above, the committee regards changes of this
               magnitude as incompatible with Harvard's educational objectives.

               Furthermore, although SAT exams, SAT Subject Tests, and ACT exams are imperfect measures
               of academic excellence and aptitude, the Admissions Committee believes that when considered
               appropriately—that is, in light of an applicant's background and ability to prepare, and as one
               factor among many—the tests provide useful information that the committee would lose if it
               excluded any consideration of them. The committee notes that the SAT and other standardized
               tests have been modernized over the past several years, mitigating (though not eliminating)
               concerns that they have a racially disparate impact, and that free test preparation courses are now
               relatively widespread. This is not to deny the correlation between standardized test scores and
               socioeconomic status. Indeed, as part of its continuous effort to attract students from all economic
               backgrounds, Harvard recently announced that beginning with the Class of 2023, applicants would
               not be required to submit the essay portion of the SAT or ACT. But the correlation between
               standardized test scores and socioeconomic status does not render standardized test scores
               irrelevant, and provides no reason to prevent admissions officers from considering them, while
               taking into account the applicant's resources.

               V.     Conclusion
               As set forth above, we conclude that, at present, no workable race-neutral admissions practices
               could promote Harvard's diversity-related educational objectives as well as Harvard's current
               whole-person race-conscious admissions program while also maintaining the standards of
               excellence that Harvard seeks in its student body. This is not to say that race-neutral efforts to
               achieve diversity are inherently futile, or could not achieve another institution's goals—only that,
               based on our careful review, they will not work at Harvard and at this time. Many of those who
               have argued otherwise—both generally in the literature and specifically as to Harvard in the SFFA
               litigation—proceed from an excessively narrow understanding of excellence and achievement,
               placing undue emphasis on test scores, or suggest contrived and unworkable approaches, such as
               reliance on ZIP Codes. But Harvard has never sought to maximize the number of places from
               which students arc admitted, or to maximize the SAT scores of the admitted class. The crucial
               question, rather, is how Harvard can admit a class of students that are both excellent in many ways
               and diverse in many ways.

               Ultimately, the fundamental defect of many of the proposed race-neutral alternatives is that they
               will not allow Harvard to achieve its goal of admitting students who are undeniably
               extraordinary—students who excel in a range of different ways, who will take advantage of all that
               Harvard can offer them, who will contribute to the education of their classmates, who will enhance
               Harvard's organization, who will engage its faculty, and who will become citizen-leaders in the
               world beyond Cambridge.




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               Although we have confidence in our conclusion today, it will be important to reassess, periodically,
               the necessity of considering race and ethnicity in the admissions process. To that end, we
               recommend that the College re-evaluate its consideration of race-neutral alternatives five years
               from now.
                                                              * * *


               William Fitzsimmons, Dean of Admissions and Financial Aid

               Rakesh Khurana, Dean of Harvard College; Marvin Bower Professor of Leadership
               Development, Harvard Business School; Faculty Dean, Cabot House

               Michael D. Smith (Chair), Edgerley Family Dean of the Faculty of Arts and Sciences; John H.
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